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                             EXHIBIT 18
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                      Risk Matrix for the Charitable Sector


Introduction
The U.S. Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) is charged
with administering and enforcing U.S. economic sanctions programs, which include a range of
sanctions against foreign states, terrorists, international narcotics traffickers, and other specially
designated targets. Since September 11, 2001, a number of investigations in the United States
and abroad, as well as reports by international organizations and in the media, have revealed the
vulnerability of the charitable sector to abuse by terrorists, rogue actors, and other sanctions
targets. In particular, terrorist organizations have exploited charitable organizations, both in the
United States and worldwide, to raise and move funds, provide logistical support, or otherwise
cultivate support for their organizations and operations.

This type of abuse can result in violations of OFAC-administered economic sanctions programs.
For this reason, OFAC has actively engaged with charitable organizations to assist them in
understanding and complying with their legal obligations under U.S. sanctions programs while
delivering aid in high-risk areas.1 OFAC has encouraged charities to develop proactive, risk-
based compliance programs, informed by best practices, to protect their assets and resources
from diversion or exploitation by rogue actors, terrorists, or other sanctions targets.2

To assist the charitable sector in adopting an effective, risk-based approach, OFAC is providing
this matrix of common risk factors associated with disbursing funds and resources to grantees.3
This matrix will be particularly useful to charities that conduct overseas charitable activity due to
the increased risks associated with international activities.4 The matrix is designed to provide
charities with an understanding of the risks that they should consider in the course of conducting
their due diligence. However, the matrix is not a comprehensive list of risk factors indicating
abuse or exploitation of a particular charity or its operations, nor is it meant to establish whether
or not a charity or grantee is engaged in illicit activities. Any of the risks highlighted in this
matrix could constitute normal business operations for certain charities, given the resources they
possess, the environments in which they work, and the constraints under which they operate. We
hope that charities find this matrix to be a helpful tool in developing an appropriate compliance
program.
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Risk Factors for Charities Disbursing Funds or Resources to Grantees5


Low Risk                       Medium Risk                   High Risk
The grantee has explicit       The grantee has general       The grantee has general
charitable purposes and        charitable purposes and       charitable purposes and
discloses how funds are        discloses how funds are       does not disclose how funds
used with specificity.         used with specificity.        are used.

The charity and the grantee    The charity and the grantee   The charity and the grantee
have a written grant           have a written grant          do not have a written grant
agreement that contains        agreement with limited        agreement.
effective safeguards. For      safeguards.
example, provisions
addressing proper use of
funds by the grantee,
delineation of appropriate
oversight, and
programmatic verification.

The grantee has an existing    The grantee has existing      The grantee has no prior
relationship with the          relationships with other      history with any charities.
charity.                       known charities but not
                               with this charity.

The grantee can provide        The grantee’s references are The grantee can provide no
references from trusted        from sources with which the references or sources to
sources.                       charity is unfamiliar.       corroborate references
                                                            provided.

The grantee has a history of   The grantee is newly or       The grantee has little or no
legitimate charitable          recently formed, but its      history of legitimate
activities.                    leadership has a history of   charitable activities.
                               legitimate charitable
                               activities.

Charity performs on-site       Charity performs remote       Charity performs no grantee
grantee due diligence          grantee due diligence         due diligence, or due
through regular audits and     through regular audits and    diligence is random and
reporting.                     reporting.                    inconsistent.

Grantee provides               Grantee provides              Grantee provides no
documentation of the use of    documentation of the use of   documentation of use of
funds in the form of video,    funds. Documentation may      funds.
receipts, photographs,         only include receipts and


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testimonies, and written            written records.
records.

The charity disburses funds         The charity authorizes               The charity disburses funds
in small increments as              grantee discretion within            in one large payment to be
needed for specific projects        specified limits.                    invested and spent over
or expenditures.                                                         time or for unspecified
                                                                         projects selected by the
                                                                         grantee.

Reliable banking systems or         Reliable banking systems or          The grantee does not use
other regulated financial           other regulated financial            regulated financial channels
channels for transferring           channels for transferring            or take steps to develop
funds are available and used        funds are not reasonably             alternative methods that the
by the grantee, subjecting          available for the grantee’s          charity and grantee
such transfers to the               relevant activity, but the           reasonably believe to be
safeguards of regulated             charity and the grantee              reliable, trustworthy, and
financial systems consistent        agree on alternative                 protected against diversion.
with international standards.       methods that they
                                    reasonably believe to be
                                    reliable, trustworthy, and
                                    protected against diversion.

Detailed procedures and             Detailed procedures and              There exist no procedures
processes for the suspension        processes for the suspension         or processes for suspension
of grantee funds are                of grantee funds are                 of grantee funds in the
included within the written         included within the written          event there is a breach of
agreement and enforceable           agreement but may not be             the written agreement.
both in the United States           enforceable at the grantee’s
and at the grantee’s locale.        locale due to instability or
                                    other issues.

The charity engages                 The charity engages in               The charity primarily
exclusively in charitable           some work in foreign                 engages in work in conflict
work in the U.S. or in              countries/regions where              zones or in
foreign countries/regions           terrorist organizations may          countries/regions known to
where terrorist                     be active.                           have a concentration of
organizations are not known                                              terrorist activity.
to be active.




1
  Engaging in a prohibited sanctions transaction, including one with a person on the Specially Designated Nationals
and Blocked Persons List, administered by the Office of Foreign Assets Control (“OFAC”), is a violation of U.S.
law. Nevertheless, in implementing and enforcing sanctions programs, OFAC recognizes that charities and their
grantees differ from one another in size, products, and services, sources of funding, the geographic locations that


                                                         3
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they serve, and numerous other variables. OFAC will take these variables into account in evaluating the compliance
measures of charities. OFAC addresses every violation in context, taking into account the nature of a charity's
business, the history of the group's enforcement record with OFAC, the sanctions harm that may have resulted from
the transaction, and the charity’s compliance procedures.
2
  To assist charities in protecting their funds against terrorist diversion, Treasury developed the Anti-Terrorist
Financing Guidelines: Voluntary Practices for U.S.-Based Charities (“Guidelines”) and released them in November
2002. In December 2005, after extensive public comment and numerous outreach engagements with the sector,
Treasury revised the Guidelines and released them in draft form for public comment. Based on the comments
received, in September 2006, Treasury released an updated version of the Guidelines. These updated Guidelines
encourage charities to adopt a risk-based approach in developing protective measures to guard against the risk of
terrorist abuse. They acknowledge that charities are in the best position to understand and address the specific risks
they face in their operations. The Guidelines also reference various materials that demonstrate and describe the
ongoing risks of terrorist abuse of the charitable sector. Many of these materials are available on the Treasury Web
site at http://www.treas.gov/offices/enforcement/key-issues/protecting/index.shtml.
3
 This risk matrix is designed to assist charities that attempt in good faith to protect themselves from abuse by
sanctioned parties or other bad actors and are not intended to address the problem of organizations that use the cover
of charitable work, whether real or perceived, to provide support for illicit causes. The matrix is not mandatory; non-
adherence to this guidance, in and of itself, does not constitute a violation of existing U.S. law. Conversely,
adherence to the risk matrix does not excuse any person (individual or entity) from compliance with any local, state,
or federal law or regulation, nor does it release any person from or constitute a legal defense against any civil or
criminal liability for violating any such law or regulation. In particular, adherence to the risk matrix shall not be
construed to preclude any criminal charge, civil fine, or other action by Treasury or the Department of Justice
against persons who engage in prohibited transactions with persons designated pursuant to the Antiterrorism and
Effective Death Penalty Act of 1996, as amended, or with persons designated under the criteria defining prohibited
persons in the relevant Executive orders issued pursuant to statute, such as the International Emergency Economic
Powers Act, as amended.
4
 The term “grantee,” as it is used throughout the matrix, means an immediate grantee of charitable resources or
services. To the extent reasonably practicable, charitable organizations should also use the matrix and the
Guidelines to ensure the safe delivery of charitable resources by any downstream sub-grantees.
5
  OFAC appreciates The American Bar Association’s instructive comments on risk factors listed in Table 1 of
Comments in Response to Internal Revenue Service Announcement 1003-29, 2003-20 I.R.B. 928 Regarding
International Grant-Making and International Activities by Domestic 501(c)(3) Organizations, July 18, 2003
(Comment). The Comment represented the views of individual members of the Committee on Exempt
Organizations of the Section of Taxation and contained recommendations on how the IRS might clarify existing
requirements of section 501(c)(3) organizations with respect to international grant-making and other international
activities. .




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